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 1                        UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA
 2
 3   UNITED STATES OF AMERICA,                       Case No. 2:25-mj-00351-EJY
 4                Plaintiff,                         ORDER
 5         v.
 6   DANIEL JAMES HENNIGH,
 7
                  Defendant.
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10         Based on the stipulation of counsel, good cause appearing, and the best

11   interest of justice being served; the time requested by this stipulation being

12   excludable in computing the time within which the defendant must be indicted and
13   the trial herein must commence pursuant to the Speedy Trial Act, 18 U.S.C. §
14   3161(b) and (h)(7)(A), and Federal Rule of Criminal Procedure 5.1, considering the
15   factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv):
16         IT IS THEREFORE ORDERED that the preliminary hearing currently
17   scheduled on June 2, 2025 at the hour of 4:00 p.m., be vacated and continued
18   to September 3, 2025 at the hour of 2:00 p.m. in Courtroom 3D.
19
           DATED this 22nd day of May, 2025.
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22                                            HONORABLE ELAYNA J. YOUCHAH
23                                            UNITED STATES MAGISTRATE JUDGE

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